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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


IN RE:                                                :                CHAPTER 7
                                                      :
BOBBY MANALCUS WILBANKS,                              :                CASE NO. 10-60990-WLH
KIMBERLY ANN WILBANKS                                 :
                                                      :
         Debtors.                                     :


      APPLICATION TO EMPLOY FORD & ASSOCIATES NATIONWIDE LEGAL
     SERVICES, APC, GOLDWATER LAW FIRM, AND BERTRAM & GRAF, LLC AS
                      SPECIAL COUNSEL FOR TRUSTEE

         COMES NOW S. Gregory Hays, as Chapter 7 Trustee (the “Trustee” or “Applicant”) for

the bankruptcy estates (collectively, the “Bankruptcy Estate”) of Bobby Manalcus Wilbanks and

Kimberly Ann Wilbanks (collectively, “Debtors”), and files this application (the “Application”)

with the Court seeking authorization to retain as special counsel on behalf of the Bankruptcy Estate:

Ford & Associates Nationwide Legal Services, APC, Goldwater Law Firm, and Bertram & Graf,

LLC (“Special Counsel”) with respect to Kimberly Ann Wilbanks (“Mrs. Wilbanks”) for the

Claim (defined below), and respectfully shows this Court as follows:

       1.    On January 12, 2010 (“Petition Date”), Debtors filed a voluntary petition for relief

under Chapter 7 of Title 11 of the United States Code, and initiated Case No. 10-60990-WLH

(the “Bankruptcy Case”). On May 20, 2010, the Court entered an Order Discharging Chapter 7

Debtors. [Doc. No. 19]. On September 6, 2013, the Court entered an Order Discharging Debtors

and Closing Estate. [Doc No. 51].

       2.    On June 14, 2018, the United States Trustee filed a motion to reopen the Bankruptcy

Case so that an unscheduled personal injury or product liability claim of Mrs. Wilbanks (the



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“Claim”) could be administered for the benefit of Debtors’ creditors [Doc No. 53]. On June 18,

2018, the Court entered an order reopening the case. [Doc. No. 57].

       3.    On June 26, 2018, Trustee was appointed as successor Chapter 7 Trustee and

remains in that role. [Doc No. 59].

       4.    On July 20, 2018, after the Court reopened the Bankruptcy Case, Debtors scheduled

the Claim in the amounts of $80,000.00 and $13,000.00 as joint property of both Debtors. [Doc.

No 61 at page 3 of 8]. Upon information and belief, Mrs. Wilbanks is the owner of the Claim

and not Mr. Wilbanks.

       5.    Trustee has investigated the Claim and has selected Special Counsel based on their

experience and qualifications in this type of action, to pursue the Claim on behalf of the Bankruptcy

Estate. The verified statements of Special Counsel are attached and incorporated herein as

Exhibits “A”, “B”, and “C” (the “Verified Statements”).

       6.    The professional services Special Counsel may render include:

             (a)     To give Trustee legal advice regarding any trial or settlement offer with

                     respect to the Claim;

             (b)     To examine and defend the examination of witnesses in the Claim

                     matters in depositions, administrative hearings, or at trial;

             (c)     To prepare on Mrs. Wilbanks’s/Trustee's behalf motions, pleadings,

                     discovery papers, and all other papers reasonably necessary to pursue

                     said Claim;

             (d)     To prepare form of pre-trial orders, prepare the case for trial, try the

                     case, and prosecute any appeals or related proceedings as may arise

                     from the Claim matters; and


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              (e)     To perform all other legal services for Ms. Wilbanks/Trustee in the

                      Claim matters.

       7.       On or about December 22, 2015, Debtors entered into a representation agreement

with Special Counsel, a true and correct copy of which is attached as Exhibit “D” (the “Contract”),

to pursue the Claim. The Contract provides that Special Counsel will be paid a fee of forty percent

of the gross amount paid as settlement proceeds or as satisfaction of any judgment as compensation

for legal services rendered in connection with the Claim split as follows.

                    Ford & Associates Nationwide Legal Services, APC 33%

                    Goldwater Law Firm                                       22%

                    Bertram & Graf, LLC                                      45%



Irrespective of this agreed split, any proposed settlement or fee awarded to Special Counsel will

be subject to and not binding without approval of the Court.

       8.       The Contract will continue as the fee arrangement for Special Counsel, except that

compensation of Special Counsel for services rendered and any ordinary and necessary expenses

incurred are subject to approval of this Court, following appropriate application and notice.

       9.       To the best of Trustee's knowledge, Special Counsel has no connection with Debtors’

creditors, or any other party in interest, or their respective attorneys.

       10.      No agreement or understanding exists between Special Counsel and any other

persons or firms for the sharing of compensation which may be allowed by this Application, and

no such sharing or division shall be made.




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       11.      Special Counsel represents no interest adverse to Trustee or the Bankruptcy Estate in

the matters upon which Special Counsel is to be engaged, and the employment of Special Counsel is

in the best interests of this Bankruptcy Estate.

       12.      Trustee proposes that Special Counsel be compensated for their services in

accordance with future orders of the Court based upon the criteria for professional compensation

required by bankruptcy law. No compensation will be paid by Trustee to Special Counsel except

upon application to and approval by the Court after notice and hearing as required by law.

         WHEREFORE, Trustee prays that this Application be granted, enabling him to retain

Special Counsel as special counsel for such purposes as requested herein and that the Court grant

such other relief as is just and proper.

         Respectfully submitted this 10th day of January, 2020.


                                                       ARNALL GOLDEN GREGORY LLP
                                                       Attorneys for Trustee

                                                       By: /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                             Michael J. Bargar
Atlanta, GA 30363                                           Georgia Bar No. 645709
(404) 873-8500                                              michael.bargar@agg.com




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                             EXHIBIT "D" FOLLOWS




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                                  CERTIFICATE OF SERVICE

         This is to certify that I have this day served the foregoing Application To Employ Ford &

Associates Nationwide Legal Services, APC, Goldwater Law Firm, And Bertram & Graf, LLC As

Special Counsel For Trustee by depositing in the United States mail a copy of same in a properly

addressed envelope with adequate postage affixed thereon to assure delivery by first class mail to

the following entities at the addresses stated:

Office of the United States Trustee                  Kimberly Ann Wilbanks
362 United States Courthouse                         943 Lake Stone Lea Drive
75 Ted Turner Drive, S.W.                            Oxford, GA 30054
Atlanta, GA 30303

S. Gregory Hays                                      Goldwater Law Firm
Hays Financial Consulting, LLC                       11811 N. Tatum Blvd., Suite 3031,
2964 Peachtree Rd, NW, Suite 555                     Phoenix, Arizona 85028
Atlanta, GA 30305
                                                     Bertram & Graf, LLC
Karen Scott Greene                                   4717 Grand Ave, Ste 800
Karen Scott Greene, PC                               Kansas City, MO 64112
PO Box 390322
Snellville, GA 30039                                 Ford & Associates Nationwide Legal
                                                     Services, APC.
Bobby Manalcus Wilbanks                              3555 Fourth Avenue
943 Lake Stone Lea Drive                             San Diego, CA 92103
Oxford, GA 30054



         This 10th day of January, 2020.
                                                     /s/ Michael J. Bargar
                                                     Michael J. Bargar
                                                     Georgia Bar No. 645709




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